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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION

UNITED STATES OF AMERICA            )
                                    )
v.                                  )          2:15 CR 72
                                    )
JEREMIAH SHANE FARMER               )

                     COURT’S PROPOSED VERDICT

                  COUNT ONE (Racketeering Conspiracy)

    As to the charge in Count One, we, the jury, find the Defendant
JEREMIAH SHANE FARMER:

            ____________ Guilty

            ____________ Not Guilty

     If you found the Defendant not guilty on Count One, sign your verdict
on Count One and proceed to Count Two on page 4.


     If you found the Defendant guilty of Count One, you will need to
answer the following questions.


      1.    If you found the Defendant JEREMIAH SHANE FARMER guilty
            of Count One, do you also unanimously find beyond a reasonable
            doubt that Defendant JEREMIAH SHANE FARMER committed
            the murder of Marion Lowery while committing or attempting to
            commit criminal gang activity?

            Yes                No
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        2.   If you found the Defendant JEREMIAH SHANE FARMER guilty
             of Count One, do you also unanimously find beyond a reasonable
             doubt that Defendant JEREMIAH SHANE FARMER committed
             the murder of Harvey Siegers while committing or attempting to
             commit criminal gang activity?

             Yes               No

        3.   If you found the Defendant JEREMIAH SHANE FARMER
             guilty of Count One, do you also unanimously find beyond a
             reasonable doubt that Defendant JEREMIAH SHANE FARMER
             conspired to distribute or possess with intent to distribute 5
             kilograms or more of cocaine?

             Yes               No




Foreperson                                Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


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Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date




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                     COUNT TWO (Drug Conspiracy)

    As to the charge in Count Two we, the jury, find the Defendant,
JEREMIAH SHANE FARMER:

            ____________ Guilty

            ____________ Not Guilty


     If you found the Defendant JEREMIAH SHANE FARMER not guilty of
Count Two, do not answer the following questions.

     If you found the Defendant JEREMIAH SHANE FARMER guilty of
Count Two, you will need to answer the following questions.


      1.    If you found the Defendant JEREMIAH SHANE FARMER guilty
            of Count Two, do you unanimously find beyond a reasonable
            doubt that the offense involved the distribution of cocaine or the
            possession with intent to distribute cocaine?

            Yes                No

      If you answered Question 1 “Yes,” proceed to Question 2. If you
      answered Question 1 “No,” proceed to Question 4 and do not answer
      Question 2 or Question 3.

      2.    If you found that the offense involved the distribution of cocaine
            or the possession with intent to distribute cocaine, do you
            unanimously find beyond a reasonable doubt that the offense
            involved 5 kilograms or more of cocaine?

            Yes                No

      If you answered Question 2 “Yes,” proceed to Question 4 and do not
      Answer Question 3. If you answered Question 2 “No,” proceed to
      Question 3.
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      3.    If you found that the offense involved the distribution of cocaine
            or the possession with intent to distribute cocaine, do you
            unanimously find beyond a reasonable doubt that the offense
            involved 500 grams or more of cocaine?

            Yes                No

      Proceed to Question 4.

      4.    If you found the Defendant JEREMIAH SHANE FARMER guilty
            of Count Two, do you unanimously find beyond a reasonable
            doubt that the offense involved the distribution of marijuana or
            the possession with intent to distribute marijuana?

            Yes                No

      If you answered Question 4 “Yes,” proceed to Question 5. If you
      answered Question 4 “No,” do not answer Question 5 or Question 6.

      5.    If you found that the offense involved the distribution of
            marijuana or the possession with intent to distribute marijuana,
            do you unanimously find beyond a reasonable doubt that the
            offense involved 100 kilograms or more of marijuana?

            Yes                No

      If you answered Question 5 “Yes,” do not Answer Question 6. If you
      answered Question 5 “No,” proceed to Question 6.

      6.    If you found that the offense involved the distribution of
            marijuana or the possession with intent to distribute marijuana,
            do you unanimously find beyond a reasonable doubt that the
            offense involved 50 kilograms or more of marijuana?

            Yes                No


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Foreperson                                Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date


Juror                                     Date




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